Case 1:18-cv-02973-CRC Document 1-1 Filed 12/17/18 Page 1 of 2
CIVIL COVER SHEET

Js44 (Rev. 6/17 Dc)

 

l. (a) PLAINTIFFs

SCOTTSDALE CAP|TAL ADV|SORS CORPORAT|ON

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF 88888
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

FlNANC|AL lNDUSTRY REGULATORY AUTHOR|TY

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT

(IN U.S. PLAINTIFF CASES ON'LY)
No'rE; IN LAND coNDEMNATIoN cAsEs, UsE TH]z LocATIoN or 'l'l-lE TRACT or mND leoLvED

 

JOSEPH H. SM|TH

202-331-8800

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)

THO|V|PSON H|NE LLP
1919 M STREET, NW, SU|TE 700
WASH|NGTONl DC 20036

ATTORNEYS (IF KNOWN)

 

 

l U.S. Government
Plaintiff

0 2 U.S. Govemment
Defendant

II. BASIS OF JURISDICTION
(PLACE AN x lN oNE Box oNLY)

III. CITIZENSHIP OF PRINCIPAL PARTIES O’LACE AN x lN ONE BOX FOR
PLAINTIFF AND ON'E BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
0 3 F d 1 Qu t_ PTF DFT PTF DFT
e era es lon
(U-S- GOVeHlmth NOt a Pal'ty) Citizen of this State 0 1 0 1 Incolporated or Pn`ncipal Place 0 4 ® 4
of Business in This State
® 4 Dlve.rsny . . . szen ofAnother State ® 2 0 2 Incorporated and Principal Place 0 5 0 5
(Ind.lcate Cltlzenship of fB . . An th St t
Pames in item m) _ _ _ 0 uslness ln 0 er a e
Cltlzen or Sub_]ect of a 0 3 0 3
Foreign Cou.ntry Foreign Natiorl 0 6 0 6

 

 

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Aetion and g in a corresponding Nature of Suit)

 

0 A. Antitrust

|:| 410 Antitrnst

 

0 B. Personallnjuly/
Malpractice

|:| 310 Airplane

m 315 Airplane Product Liability

|:| 320 Assaiilt, Lihel & slander

|:l 330 Fedei-al Eniployeri Liahility

|:| 340 Marine

|:| 345 Marine Prodiiet Liahility

|:l 350 Motor vehiele

|:| 355 Motor vehicle Prodiiet Liahility

m 360 Other Personal Injury

|:l 362 Medieal Malpraetiee

|:l 365 Product Liahility

|:l 367 Health Care/Pharmaceutical
Personal Inj ury Product Liability

|:| 368 Asbestos Product Liability

 

0 C. Adminislrative Agency
Review

|:| 151 Medieare Aet

Social Security
m 861 HIA (1395fi)

|:| 862 Blaek Liing (923)

|:| 863 DIWc/l)lww (405(g))
|:| 864 ssll) Title XvI

|:| 865 Rsl (405(g))

Other Statutes
|:| 891 Agrienltiiral Aets

|:| 893 Environmental Matters

|:l 890 Other Statutory Actjons (If
Administrative Agency is
Involved)

 

0 D. Temporaly Restraining
Order/Preliminaly
Injunclion

Any nature of suit from any category

may be selected for this category of

case assignment

*(If Antitrust, then A governs)*

 

 

 

 

 

 

@ E. General Civil (Other) OR 0 F. Pro Se General Civil
Real Proper_ty Bankrugtcy M |:| 462 Naturalization
|:| 210 Land condemnation |:| 422 Appeal 27 Usc 158 |:| 870 Taxes (Us plaintiff or implication
|:| 220 Foreolosiire |:| 423 Withdrawal 28 Usc 157 defendant) |:| 465 other Immigration
|:| 230 Rent, Lease & Ejeetnient |:| 871 le-Third Party 26 Usc Aetion
|:| 240 TortS to Lalld Pris°“er Petiti°ns 7609 |:| 470 Racketeer Influenced
m 245 Tort Product Liabi]ity |:| ;:‘5) LD/I"'at: Penal;:' Oth Forfeiture/Penal & Corrupt Organization
an amus er _t! .
|:| 290 All other Real Property |:| _ _ _ |:| 625 Drug Related Seizure of |:| 480 consumer credit
550 civil Rights .
_ _ _ Pro erty 21 USC 881 |:l 490 Cable/Satelllte TV
M |:| 555 Prlson Condltlons P 8 ' _ ' _
_ _ ' _ _ 690 Other |:| 50 Securltles/Comnlodltles/
m 370 Other Fraud 560 Clvll Detalnee - Condltlons |:| Exchange
|:l 371 Truth in Lending of Coniinement . .
896 Arbltratlon
|:l 380 Other Personal Property M . |:| 899 Ad - - t ti P d
Damage Pro e Ri ms |:| 375 False Clalms Act |:| mmls ra ve roce ure
. ' A ' A l f
Elsssi>ropeny namige |:||j szlo copyrights |:| 376 ;27\;19?;;11 131 USC A;*;:;“;;;;MPP“ °
- - - 830 Patent
Product mabth |:| 835 Patent _ Abbreviated New |:l 400 State Reapportionment m 950 Constit“ti°na]ity of state
Dmg Application |:| 430 Banks & Banklng statutes l
|:| 840 Trademark |:| 450 Commel-ce/ICC |:| 890 Other Statutory Acuons
Rates/etc. (if not administrative agency
|:l 460 Deportation review or Privacy Aet)

 

 

 

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0 G. Habeas Corpus/
2255

|:l 530 Habeas Corpus - General

m 510 Motiou/Vacate Sentence

|:l 463 Habeas Corpus - Alien
Detainee

0 H. Employment
Discriminution
|:| 442 civil Rights _ Eniployrncnt

(criteria: race, gender/sex,
national origin,

religion, retaliation)

*(If pro se, select this deck)*

discrimination, disability, age,

0 I. FOIA/PrivacyAct

|:l 895 Freedom of Information Act
m 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

0 J. StudentLoan

|:l 152 Recovery of Defaulted
Student Loan
(excluding veterans)

 

O K. Labor/ERISA
(non-employmem)

710 Fair Labor Standards Act
|:|
m 720 Labor/Mgmt. Relations

740 Labor Railwa Act

y
|:l 751 Family and Medical
Leave Act
790 Other Labor Liti ation
g

|:l 791 Empl. Ret. Inc. Security Act

0 L. other CivilRigh¢s
(non-employmem)

|:| 441 Voting (if not Voting Rights
Act)

m 443 Housing/Accommodations

|:l 440 Other Civil Rights

|:| 445 Americans w/Disabilities _
Employment

|:l 446 Americans w/Disabilities _
Other

|:| 448 Education

 

0 M. Contract

|:l 110 Insurance

|:I 120 Marinc

|:l 130 Millcr Act

140 Negotiable Instrument

|:l 150 Recovery of Overpayment
& Enforcement of
Judgment

|:l 153 Recovery of Overpayment
of Veteran’s Benel'lts

|:| 160 stockholders suits

|Xl 190 Other Contracts

|:| 195 contract Product Liability

|:l 196 Franchise

 

 

O N. Three-Judge
Court

|:| 441 Civil Rights - Voting
(if Voting Rights Act)

 

V. ORIGIN
@ 1 Original O 2 Renloved
Proceeding from State
Court

0 3 Remanded

0 4 Reinstated 0 5 Transferred

0 6 Multi-district 0 7 Appeal to

O s Miilti-district

from Appellate or Reopened from another Litigation District Judge Litigation -
Court district (specify) from Mag. Direct File
Judge

 

VI. CAUSE OF ACTION (cITE THE U.s. cIvlL srATUTE UNDER wHIcH YoU ARE FILING AND wRITE A BRIEF srATEMENT or cAUsE.)
28 U.S.C. 1332 - Breach of contract seeking declaratory re|eif

 

 

 

 

 

 

VII. REQUESTED IN cHECK IF THIS IS A CLASS DEMAND $ 75,001 Check YES only if demanded n complaint
COMPLAINT ACTION UNDER F.R.C.P. 23 JURY DEMAND: YES NO
VIII. RELATED CASE(S) (See insml°ti°n) YES l l NO If yes, please complete related case form
IF ANY w
DATE: 12/17/18 sIGNATURE or ATTORNEY oF REcoRn /S/ JOSePh A- Smith

 

 

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements tlle filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for tile pmpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

I. COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

III. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jun`sdiction
under Section lI.

IV. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
represents the primgy cause of action found in your complaint. You may select only B category. You must also select M corresponding
nature of suit found under the category of the case.

VI. CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of tile primary cause.

VIII. RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from

tlle Clerk’s Office.

Because of the need for accurate and complete inforlnation, you should ensure the accuracy of the information provided prior to signing the foxrn.

 

